




















NO. 07-09-0364-CR

&nbsp;

IN THE
COURT OF APPEALS

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FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

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PANEL B

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JULY
22, 2010

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&nbsp;

DANIEL FELIPE PEREZ, &nbsp;

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant


v.

&nbsp;

THE STATE OF TEXAS,&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellee

_____________________________

&nbsp;

FROM THE 222nd DISTRICT COURT OF DEAF
SMITH COUNTY;

&nbsp;

NO. CR-08H-141; HONORABLE ROLAND D.
SAUL, PRESIDING

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&nbsp;

Memorandum
Opinion

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&nbsp;

Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp; Daniel Felipe Perez challenges his
conviction of capital murder by contending the evidence is legally and factually
insufficient to support it.&nbsp; We disagree
and affirm the conviction.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
standards by which we determine the sufficiency of the evidence are discussed
in Jackson v. Virginia, 443 U.S. 307,
99 S.Ct. 2781, 61 L.Ed.2d 560 (1979) and Watson
v. State, 204 S.W.3d 404 (Tex. Crim. App. 2006), to which we refer the
parties for explanation.&nbsp; Appellant was
convicted of knowingly causing the death of his girlfriend’s seventeen-month-old
daughter by striking her head.&nbsp; See Tex.
Penal Code Ann. §19.03(a)(8) (Vernon Supp. 2009).&nbsp; Appellant contends the evidence does not show
that he knowingly killed the child.&nbsp; A
person acts knowingly with respect to the result of his conduct when he is
aware that his conduct is reasonably certain to cause the result.&nbsp; Id. §6.03(b) (Vernon 2003).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Proof of intent
usually depends on circumstantial evidence and may be determined from the acts,
words, and conduct of the accused.&nbsp; Patrick v. State, 906 S.W.2d 481, 487
(Tex. Crim. App. 1995).&nbsp; Intent may also
be inferred from the extent of the injuries, the method used to inflict the
injuries, and the relative size and strength of the parties.&nbsp; Id.; Martin
v. State, 246 S.W.3d 246, 263 (Tex. App.–Houston [14th Dist.]
2007, no pet.).&nbsp;&nbsp; 

&nbsp;The
record before us contains the following evidence:&nbsp; 1) appellant was caring for the child while
her mother was at work and was the only adult in the residence, 2) the child
had apparently thrown up and was whining and crying, 3) appellant claimed in a
written statement that he stood her on the dresser while attempting to put on
her nightshirt, jerked down on the shirt, and caused her to fall and slam her
head on the corner of the dresser, 4) appellant stated the child was not
breathing but he did not call for help or take the child to the hospital, 5)
appellant laid the child on her side in her crib with her back to the room,
re-arranged the furniture in the bedroom, took his own children to his mother’s
house, and gave a credit card to his son so the boy could obtain cash, 6)
appellant told the child’s mother nothing about the incident when she came home
from work although he appeared upset to the mother, 7) the next morning when
the child’s mother discovered the child was dead, appellant attempted to slash
his wrists, 8) appellant told inconsistent stories to police and later to the
child’s mother as to how the incident happened, 9) the child sustained two
skull fractures to her head, one on the right side and one on the back, 10) the
cause of death was blunt force trauma which required a relative concentration
of force, 11) there was a significant injury to the back of the skull which is
the area that controls respiration and heartbeat, 12) retinal hemorrhages
indicate a shaking component to the injury and they are not usually caused by
accidental injury, 13) one fall could not have caused all of the child’s
injuries, 14) there were indications that the head was banged into some object
several times, and 15) appellant stated that he knew he had killed the child,
that he was sorry, that he did not mean to do it, and that he “screwed up.”&nbsp; This evidence, if believed by the jury, was
sufficient for it to conclude beyond a reasonable doubt that appellant knew
that his actions were reasonably certain to cause death.&nbsp; See
Duren v. State, 87 S.W.3d 719, 726 (Tex. App.–Texarkana 2002, no pet.) (the
extent of the injuries and the force necessary to inflict them, the conclusion
they could not have occurred by a trivial fall at home, the defendant’s
inconsistent stories, and the disparity in strength and size between the victim
and the accused supported the inference that he knew his conduct was reasonably
certain to cause death).&nbsp; 

Conversely, there was no evidence of any
previous abuse of the victim by appellant, and appellant’s expert witness
testified that the child’s injuries were consistent with a fall and the story
appellant gave in his written statement to police. &nbsp;The expert also criticized the autopsy that
had been peformed. Yet, the jury was free to reject or discredit this evidence
and to resolve any conflicts it created.&nbsp;
Moreover, that resolution is not so against the weight of the evidence
as to undermine our confidence in the verdict.&nbsp;


Accordingly, appellant’s issues are
overruled and the judgment is affirmed.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Per
Curiam

&nbsp;

Do not publish.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

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